             Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 1 of 8



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 UNITED ST ATES OF AMERICA,
                                                                        ORDER GRANTING MOTION
              -against-                                                 FOR COMPASSIONATE
                                                                        RELEASE
 ROGER HERNANDEZ FROMETA,
                                                                        18 Cr. 660 (AKH)
                                          Defendant.

 -------------------------------------------------------------- X

ALVIN K. HELLERSTEIN, U.S.D.J.:

                  Roger Hernandez Frometa (hereinafter "Derendant" or "Hernandez Frometa"),

who is currently serving a 40-month sentence for conspirar to distribute and possession with

intent to distribute one kilogram of heroin, moves for comf assionate release in light of the

COVID-19 pandemic, his preexisting health condition, an! the sentencing factors in 18 U.S.C. §

3553(a). For the reasons that follow, Hernandez Frometa' s motion is granted.

                                                BACKGROUND

                  Hernandez Frometa is forty years old and suffers from hypertension. 1 Def. ' s

Reply Memo. Supp. Mot. Compassionate Release ("Def.'slReply") 1, ECF. No. 37 (citing

Presentence Investigation Report ("PSR") 1 54). Hernandt z Frometa, a citizen of the Dominican

Republic, entered the United States in February 2017 and overstayed his visa; as such, he is

undocumented. Gov't's Opp'n 5 (citing PSR 147), ECF                   10.   36. He has no prior criminal

history. Def.'s Mot. Compassionate Release ("Def.'s Mot.") 1, ECF No. 34.

                  Hernandez Frometa's conviction stems frof a three-day period in August 2018

during which he agreed to deliver 1 kilogram of heroin to an informant at the direction of a co-



' Defendant originally stated that he has a history of hypertension and ~ iabetes; howeve,. his ceply states "Mc
Hernandez Frometa does not rely on diabetes as a basis for establishing ' extraordinary and compelling
circumstances' ." Def. ' s Reply 1 n. l. As such, I do not consider arguments regarding his history of diabetes.
           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 2 of 8



conspirator. Gov't's Opp'n 5; see also Sentencing Tr. 8:212- 9:10, ECF No . 27. He was arrested

on August 30, 2018, leaving his apartment with approxima~ely 985 grams of heroin in his

backpack which he intended to deliver to the informant. Pl R ,Jl6, ECF No. 20. Hernandez

Frometa was subsequently charged with one count of const racy to distribute and possession

with intent to distribute heroin in violation of 21 U.S.C. § 846. He pleaded guilty before

Honorable Debra Freeman in December 2018, and I accepled his plea on March 20, 2019. Order
                                                             I
Accepting Plea Allocution, ECF No. 21. On May 23 , 201 1' I sentenced Hernandez Frometa to

40 months' imprisonment. J. 2, ECF No. 26. This sentence was below the suggested 57-71

months Sentencing Guidelines range. Sentencing Tr. 15 : 1 l -12. I did not impose supervised

release, since Hernandez Frometa is subject to an Immigration Customs and Enforcement

("ICE") detainer and immediate removal to the Dominica I Republic following his imprisonment.

Sentencing Tr. 15 :21-24.

               Hernandez Frometa now moves for compas ionate release. He has been

incarcerated since August 31 , 2018, Sentencing Tr. 4:12-2  ,1    and has served more than 25 months

of his 40-month sentence. Def. ' s Reply 2. He is currently incarcerated at Moshannon Valley

Correctional Center ("MCC"), a private prison operated     bi    the GEO Group in Pennsylvania, and

1s scheduled for release on July 30, 2021 , less than a year t om now. Gov' t' s Opp' n 2.

                                           DISCUSSION

               "Federal courts are forbidden, as a general l atter, to ' modify a term of

imprisonment once it has been imposed,' 18 U.S.C. § 3582(c); but the rule of finality is subject

to a few narrow exceptions." Freeman v. United States,     514U.S. 522, 526 (2011 ). A court may
"reduce the term of imprisonment. .. after considering the !factors set forth in section 3553(a) to

the extent that they are applicable, if it finds that . .. extraordinary and compelling reasons

warrant such a reduction .. . and that such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission." 18 U . .C. § 3582(c)(l )(A)(i); see also

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           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 3 of 8



United States v. Ogarro, No. 18-cr-373-9 (RJS), 2020 WL 1876300, at *2 (S.D.N.Y. Apr. 14,

2020) (quoting 18 U.S.C . § 3582(c)(l)(A)) ("[A] court mat 'reduce' a defendant's sentence

where 'extraordinary and compelling reasons warrant such a reduction,' and such relief would be

consistent with both the factors in 18 U.S .C. § 3553(a) and 'applicable policy statements issued

by the Sentencing Commission. "'). The Defendant bears the burden of showing he is entitled to

this relief. United States v. Ebbers, 432 F. Supp. 3d 421 , 426 (S.D.N.Y. 2020).

  I.   Defendant Has Exhausted His Administrative t medies.

               A defendant meets the compassionate release provision's exhaustion requirement

where he has "fully exhausted all administrative rights to + peal a failure of the Bureau of

Prisons to bring a motion on the defendant' s behalf," or where 30 days have lapsed since the

defendant's application to the warden for compassionate release, whichever is earlier. 18 U.S.C.

§ 3582(c)(l)(A). " [T]he statute does not necessarily requ+ the moving defendant to fully

litigate his claim before the agency (i.e., the BOP) before y inging his petition to court. Rather,

it requires the defendant either to exhaust administrative r~medies or simply to wait 30 days after

serving his petition on the warden of his facility before filing a motion in court." United States v.

Haney, No. 19-cr-541 (JSR), 2020 WL 1821988, at *3 (S .ID.N.Y. Apr. 13, 2020) (emphasis in

original)). Requests made by another person on behalf of 1n inmate are processed by the Bureau
                                                             I
of Prisons in the same manner as an inmate's request 28 C F.R. § 571.61(b).

               Here, over thirty days have lapsed since Hernandez Frometa's application to the

warden for compassionate release. Counsel for Hernande21 Frometa moved for compassionate
                                                             I
release on his behalf on May 1, 2020, citing health conditii ns that place him at increased risk for

complications from COVID-19. Def. 's Mot. Ex. A. The rf quest was denied. Id. Therefore,

Hernandez Frometa has met the threshold requirement und,e r 18 U.S.C. § 3582(c)(l)(A).

 II.   Defendant Has Established Extraordinary and Compelling Reasons For

       Compassionate Release.

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           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 4 of 8



               The Sentencing Commission lists four circistances under which extraordinary

and compelling reasons justifying compassionate release e ist, including "a serious physical or
                                                              I
medical condition ... that substantially diminishes the abil ty of the defendant to provide self-

care within the environment of a correctional facility and fi om which he or she is not expected to

recover." U.S.S.G. § 1B1.13, cmt. n.l(A)(ii)(I). The fourtl category recognizes extraordinary

and compelling reasons for compassionate release in a de:fi ,ndant' s case "other than, or in

combination with, the reasons described in [the prior three categories]." U.S.S.G. 1B 1.13, cmt.

n.l(D).

               Numerous courts have held that the presence of preexisting conditions that

increase the risks associated with the virus, in combinatio1 with the conditions of confinement,



3582(c)(l)(A). See United States v. Pena, No. 15-cr-551    (r ),
constitute extraordinary and compelling reasons for a reduction in sentence under 18 U.S.C. §

                                                                      2020WL2301199, at *4

(S.D.N.Y. May 8, 2020) (modifying sentence to time servl d due to inmate's hypertension, in

combination with risk of COVID-19, presented extraordinary and compelling reasons) ; United
                                                              I
States v. Bayuo, No. 15-CR-576 (JGK), 2020 WL 341522l , at *2 (S.D.N.Y. June 20, 2020)

(granting compassionate release and releasing to ICE cust dy due to inmate's hypertension and

diabetes, in combination with the risk of COVID-19); Uni ed States v. Scparta, No. 18-cr-578

(AJN), 2020 WL 1910481, at *9 (S.D.N.Y. Apr. 20, 2020) (modifying sentence to time served

where inmate's hypertension, sleep apnea, and high choles erol, in combination with risk of
                                                              1
COVID-19, presented extraordinary and compelling reasor ); United States v. Sawicz, 453 F.

Supp. 3d 601, 605 (E.D.N.Y. 2020) (modifying sentence t , time served where inmate's

hypertension in combination with risk of COVID-19 prese ted extraordinary and compelling

reasons). However, "[t]he risks posed by [the] COVID-19 pandemic alone do not constitute

extraordinary and compelling reasons for release, absent a ditional factors such as advanced age

or serious underlying health conditions that place a defen)       t at greater risk of negative

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           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 5 of 8

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complications from the disease." United States v. Nehmad No. 16-cr-829 (AKH), 2020 WL

4586798, at *1 (S.D.N.Y. Aug . 10, 2020) (quoting United ~tates v. Hasan-Hafez, No. 16 Cr 221-



inmate's medical conditions were not considered high risk with respect to COVID-19.)

               According to the Centers for Disease Contr j land Prevention, individuals with

hypertension are at increased risk for severe illness from q ovrD-19. Centers for Disease

Control and Prevention, Coronavirus Disease 2019 (COVIr -19): People with Certain Medical

Conditions, htt s://www.cdc. ov/coronavirus/2019-ncov/ eed-extra- recautions/ eo le-with-

medical-conditions.html (last updated Oct. 6, 2020). This f ourt has recognized hypertension as

"a comorbidity that increases the likelihood of serious risk from COVID-19." Pena, No. 15-CR-

551 (AJN), 2020 WL 2301199, at *4 (collecting cases).            e have also recognized that
                                                           1
incarcerated individuals are uniquely vulnerable to contral ting COVID-19. Id. (citing United



(" [T]he COVID- 19 pandemic presents an extraordinary      4
States v. Stephens, No. 15-cr-95 (AJN), 2020 WL 1295155, at *2 (S .D.N.Y. Mar. 19, 2020))

                                                                  unprecedented threat to incarcerated

individuals ... This is true even though ... the Bureau of Prisons has taken significant action to

reduce the risk COVID-19 poses to prisoners.").              I

               Here, Hernandez Frometa argues that that ti e risk the coronavirus pandemic poses

to him because of his hypertension provides an extraordinary and compelling reason under the
                                                             I
Sentencing Guideline's fourth category. Def.'s Mot. 3-4. IHe alleges that the conditions of his



protect himself from the spread of COVID-19. Id. at 5.     1
confinement "create an ideal environment for the transmission" of COVID-19 and that he cannot

                                                                  also notes that while there is no

publicly available information regarding COVID-19 statistics or testing rates at MCC, he has
                                                             I
heard that at least one staff member has tested positive "recently" . Id. at 6.

               The Government argues that Hernandez Frometa' s circumstances do not

constitute an extraordinary and compelling reaso n for a rer ction in sentence. The Government

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           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 6 of 8



first notes that the "impossibility of social distancing" appl es to every inmate. Govt. ' s Opp' n 4.

They then dispute that the Defendant currently suffers froJ serious underlying health conditions

that would place him at greater risk for complications fro] COVID-19, as he is not of advanced

age or on any medication at present. Id. (citing PSR ,57). They acknowledge that while the

Defendant has had elevated blood pressure readings, he ha : not established that his hypertension

is so severe as to place him at greater risk of complication, . Id

                In response, Hernandez Frometa argues tha, hypertension is a well-established

risk factor for COVID-19 complications, and that his medir al records document a pattern of

elevated high blood pressure readings. Def.' s Reply 1. Di fendant argues that MCC has failed to

give him medicine to control his hypertension, leaving hi} susceptible to COVID-19. Id. at 2.

                Neither Hernandez Frometa' s hypertension or the COVID-19 pandemic are

themselves severe enough to warrant compassionate releaJ , see Nehmad, No. 16-cr-829 (AKH),

2020 WL 4586798, at * 1; however, in combination, and i] relation to the ICE detainer which

awaits him the moment his custody ends, they constitute extraordinary and compelling

circumstances. Scparta, No. 18-cr-578 (AJN), 2020 WL 1 10481, at *9. The increased risk

Hernandez Frometa faces for serious complications due to his hypertension is exacerbated by his

inability to engage in social distancing practices and other ! elf-protective measures in his current

conditions of confinement, and is further exacerbated by tlie conditions in the various jails used

by ICE to detain persons awaiting removal. Thus, I find + t Hernandez Frometa has established

extraordinary and compelling circumstances under 18 U.S t . § 3582(c)(l)(A)(i).

III.    Section 3553(a) Factors and Policy Statements o, the Sentencing Commission.

                "The court confronted with a compassionat • release motion is still required to



433 F. Supp. 3d 613, 615 (S.D.N.Y. 2020). The most rele ant factors include "the nature and

circumstances of the offense and the history and character·stics of the defendant"; the need for

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           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 7 of 8



the sentence "to reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense"; the need for the   J'   ntence "to afford adequate

deterrence to criminal conduct"; the need for the sentence l'to protect the public from further

crimes of the defendant"; and "the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct." 18 U.S .C.

§3553(a). Under the Sentencing Commission' s policy star ment, a court may grant

compassionate release if "[t]he defendant is not a danger tI the safety of any other person or to

the community, as provided in 18 U.S.C. § 3142(g)," and ' [t]he reduction is consistent with [the]

policy statement." U.S.S .G. § 1B1.13.

                The Section 3353(a) factors weigh in favor of Hernandez Frometa' s release. The

underlying conduct here is nonviolent; Hernandez Frometa delivered heroin at the request of his

co-conspirator. Sentencing Tr. 9: 8-9. Hernandez F rome~ was "neither a supplier nor the

beneficiary of the deal," but he did play an important role in carrying out the deal. Id. at 14:24-

15 :2. I explained at his sentencing that his conduct did not merit a guideline sentence, even one

at the bottom range. Id. at 15:6-8. Hernandez Frometa pleaded guilty, accepted responsibility

for his conduct before the Court, and expressed remorse fJ r his involvement in the scheme.

Forty months is a sufficiently serious sentence to reflect tL seriousness of Hernandez Frometa' s

offense. Hernandez Frometa has served 25 months, over 60 percent of his sentence, which is

sufficient to satisfy the purposes of criminal sentencing, particularly in light of the ICE detention

that will follow.                                            I
                Moreover, Hernandez Frometa likely does r ot pose a danger to the safety of

others or to the community. He has no criminal history other than his instant conviction.

Gov't's Opp' n 5. Defendant alleges, and the Government does not dispute, that Hernandez

Frometa has been a "model prisoner". Def. ' s Reply 3. In the time Mr. Hernandez was


                                                  7
           Case 1:18-cr-00660-AKH Document 38 Filed 10/19/20 Page 8 of 8



incarcerated prior to his sentencing, he worked in the facil!'ty's kitchen for several months.

Sentencing Tr. at 7:8-16. Additionally, Hernandez Frome a recently agreed to an expedited

removal order and will be released to ICE custody and de1orted after completing his sentence.

Def' s Reply 3. He has made arrangements for housing and work in the Dominican Republic.

Id. Thus, taking into consideration his conduct prior to anh post-conviction, and his impending

deportation, I find that Hernandez Frometa does not pose    t    danger to society.

               After reconsideration of the § 3553(a) fact°(s and the policy statement, I hold that

defendant has satisfied his burden to show extraordinary and compelling circumstances for

compassionate release.

                                          CONCLUSION        l
               For the foregoing reasons, Defendant Hem .ndez Frometa's motion for

compassionate release, and his sentence is modified to timr served. The Government is ordered

to release Hernandez Frometa to ICE custody. The Clerk shall terminate the open motion (ECF

No. 34).                                                     I


               SO ORDERED.

Dated:                   J
                         1
               October 2020
                                                        ft_ /4- y'~~
               New York, New York                     AL VIN K. HELLERSTEIN
                                                      Unite States District Judge




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